     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 1 of 33 Page ID #:669



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15                         UNITED STATES DISTRICT COURT
16                CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
17      BLACK LIVES MATTER LOS                      Case No.: 2:20-cv-05027 CBM-AS
        ANGELES, CANGRESS (DBA LA
18      CAN), STEVEN ROE, NELSON                    NOTICE OF APPLICATION FOR
        LOPEZ, TINA ČRNKO, JONATHAN                 A TEMPORARY RESTRAINING
19      MAYORCA, ABIGAIL RODAS,                     ORDER AND FOR AN OSC RE:
        KRYSTLE HARTFIELD, NADIA                    PRELIMINARY INJUNCTION
20      KHAN, CLARA ARANOVICH,
        ALEXANDER STAMM, MAIA                       Date and Time: TBA
21      KAZIM, ALICIA BARRERA-                      Courtroom: 8B
        TRUJILO, SHANNON LEE MOORE,
22      DEVON YOUNG, LINUS SHENTU,
23
        individually and on behalf of a class of
        similarly situated persons,
24
                                  PLAINTIFFS,
25      v.
26      CITY OF LOS ANGELES, a
        municipal entity, CHIEF MICHEL
27      MOORE, and DOES 1-10 inclusive,
28                                DEFENDANTS.
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 2 of 33 Page ID #:670



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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 3 of 33 Page ID #:671




 1          TO ALL PARTIES HEREIN AND TO THEIR RESPECTIVE
 2    ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE THAT as soon as the matter may be heard on a
 4    date to be set by and before the Honorable Consuelo B. Marshall, at the First Street
 5
      Courthouse 350 W. 1st Street, Courtroom #8B, 8th Floor, Los Angeles California,
 6
      90012, Plaintiffs will and do respectfully apply ex parte for a Temporary
 7
      Restraining Order, and for a Preliminary Injunction.
 8
            As described in the Proposed Order submitted with this Application,
 9
      Plaintiffs hereby seek a Temporary Restraining Order and a Preliminary Injunction
10
      enjoining the Los Angeles Police Department from using 40 mm and 37 mm
11
      projectiles on protestors in connection with public demonstrations.
12
            This Application is made pursuant to Federal Rule of Civil Procedure 65 on
13
14
      the grounds that Plaintiffs are likely to prevail on their claims including under the

15    Fourth and First Amendments; and are at risk of irreparable harm absent the entry

16    of a temporary order and preliminary injunction; and that the balance of equities
17    and public interest favor the temporary restraining order and temporary injunction.
18    The Application is based on the supporting Memorandum of Points and
19    Authorities; the supporting declarations and exhibits filed concurrently herewith;
20    Plaintiffs’ prior briefing, declarations and exhibits in support of Plaintiff’s
21    temporary restraining order, Dkts. 14-15; the Complaint for Injunctive Relief and
22    accompanying declarations, and all other documents and pleadings filed in this
23    action. Plaintiffs respectfully request a hearing, or a decision without a hearing, as
24    soon as practicable.
25
                                  RULE 7-19.1 STATEMENT
26
            Compliance with the Requirements of Local Rule 7-19.1 is set forth in the
27
      following Declaration of Paul Hoffman, submitted with this application.
28
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 4 of 33 Page ID #:672




 1          Plaintiffs request that the Court order an expedited briefing schedule in light
 2    of the urgency of the matter presented by the impending verdict in the trial of
 3    former Minneapolis Police Officer Derrick Chauvin, charged with killing George
 4    Floyd, and hold an evidentiary hearing at the Court’s earliest convenience.
 5
      Pursuant to Local Rule 7-19 the contact information for Defendants’ counsel is:
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15
16
17                                           Respectfully submitted,
18
19
      DATED: April 13, 2021                  SCHONBRUN SEPLOW HARRIS
                                             HOFFMAN & ZELDES LLP
20
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21
22
23
                                             By:    /s/ Paul Hoffman
24                                                  Paul Hoffman
25                                                  John Washington
                                                    Carol Sobel
26
                                                    Attorneys for Plaintiffs.
27
28
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 5 of 33 Page ID #:673




                          DECLARATION OF PAUL HOFFMAN
 2        1. I am an attorney at law duly licensed and entitled to prac~ice in this Court
 3           and the State of California. I am counsel for Plaintiffs in this case. I have
 4           personal first hand knowledge of the within-stated facts and could testify
 5
             thereto under oath.
 6
         2. On April 12, 202 1 at 8:50 AM I e-mailed Geoffrey Plowden, counsel for
 7
             Defendants in this action, and informed him of the substance of this motion
 8
             and date that it wou ld be fi led. I also spoke with Mr. Plowden by telephone
 9
             later that day, and he informed me that D efendants oppose the motion.
10

1I
12
         I declare that the foregoing is true and correct under the penalty of perjury.
13

14

15       Executed this 13th day of March 202 1 at Hermosa Beach, California.

16

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18                                                  Paul L. Hoffman
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 6 of 33 Page ID #:674



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                           UNITED STATES DISTRICT COURT
16                CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
17      BLACK LIVES MATTER LOS                      Case No.: 2:20-cv-05027 CBM-AS
18
        ANGELES, CANGRESS (DBA LA
        CAN), STEVEN ROE, NELSON                    MEMORANDUM OF POINTS
19      LOPEZ, TINA ČRNKO, JONATHAN                 AND AUTHORITIES IN
        MAYORCA, ABIGAIL RODAS,                     SUPPORT OF PLAINTIFFS’
20      KRYSTLE HARTFIELD, NADIA                    APPLICATION FOR A
        KHAN, CLARA ARANOVICH,                      TEMPORARY RESTRAINING
21      ALEXANDER STAMM, MAIA                       ORDER AND FOR AN OSC RE:
        KAZIM, ALICIA BARRERA-                      PRELIMINARY INJUNCTION
22      TRUJILO, SHANNON LEE MOORE,
        DEVON YOUNG, LINUS SHENTU,                  Date and Time: TBA
23      individually and on behalf of a class of    Courtroom: 8B
        similarly situated persons,
24
                                  PLAINTIFFS,
25      v.
26      CITY OF LOS ANGELES, a
        municipal entity, CHIEF MICHEL
27      MOORE, and DOES 1-10 inclusive,
28                                DEFENDANTS.
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 7 of 33 Page ID #:675




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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 8 of 33 Page ID #:676




 1                              TABLE OF CONTENTS

 2    INTRODUCTION…………………………………………………….……………1
 3
      NEW DEVELOPMENTS……………………………….…………………………4
 4
 5          I.    MARCH 2021 AND PRIOR PROTESTS……...…………………….4

 6          II.   THE CHALEFF REPORT………………………….…….…………..5
 7
      ARGUMENT……………………………………………..………………………...8
 8
 9          I.    PLAINTIFFS MEET ALL THE REQUIRMENTS
                  FOR INJUNCTIVE RELIEF…,..…………………………………….8
10
11                A. Introduction………………………………………………………..8

12                B. The LAPD Continues to Use Large 40mm
13                   and 37 mm Kinetic Projectiles in Dangerous,
                     Potentially Lethal Ways That Violate Its Own
14                   Policies and the Fourth Amendment………………………….....10
15
                     1. The Fourth Amendment Forbids Officers
16                      from Using Serious, “Less-Lethal” Force
17                      Unreasonably Against Peaceful Protestors………………….10
18                   2. The LAPD is Engaging in Widespread Use
19                      of “Less-Lethal” 40 mm and 37 mm Projectiles
                        in an Objectively Unreasonable Manner and Putting
20                      Peaceful Protestors Safety and Lives at Risk………………...12
21
                  C. A TEMPORARY RESTRAINING ORDER AND
22                   PRELIMINARY INJUNCTIVE RELIEF ARE URGENTLY
23                   NEEDED AND WELL JUSTIFIED TO PREVENT THESE
                     UNCONSTITUTIONAL AND LIFE-THREATENING
24                   PRACTICES………………………………………..………..…..16
25
                     1. Plaintiffs Will Likely Suffer Irreparable harm
26                      if the Injunction is Not Granted………………………………16
27
28
                                            i
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 9 of 33 Page ID #:677




 1                   2. Plaintiffs’ Interests Weigh Heavily in Favor
                        of Enjoining Defendants’ Use of 40 mm and
 2                      37 mm Weapons…………………………………...…………20
 3
      REQUESTED RELIEF…………………………………………..……………….21
 4
 5    CONCLUSION…………………………………………………..……………….21

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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 10 of 33 Page ID #:678




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 8     2020 U.S. Dist. LEXIS 135607, 2020 WL 4346828, No. 3:20-cv-03866-JCS
 9     (N.D. Cal. June 18, 2020)…………………………………………………………17

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       747 F.3d 1073 (9th Cir. 2014)……………………………………….……………20
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24
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26
27
28
                                             iii
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 11 of 33 Page ID #:679




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       685 F.3d 867 (9th Cir. 2012)…………………………………..………..…10-11, 16
 2
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       556 U.S. 418 (2009)………………………………………..……………………..20
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13                                            OTHER AUTHORITIES

14     Los Angeles Times, LAPD Projectiles Fired at Lakers
15     Crowd Causes Severe Injuries (Oct. 15, 2020), available at:
       https://www.latimes.com/california/story/2020-10-15/lapd-projectiles-gruesome-
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20
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                                                               iv
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 12 of 33 Page ID #:680




 1                                      INTRODUCTION
 2
 3           This Court declined to issue injunctive relief last spring to enjoin the

 4     unconstitutional actions of the Los Angeles Police Department (“LAPD”) against

 5     peaceful protestors seeking an end to systemic racism in policing after the murder

 6     of George Floyd in Minneapolis. The LAPD made assurances to this Court in

 7     response to Plaintiffs’ request at that time which they have not fulfilled. In recent

 8     days the LAPD has engaged in the same unlawful use of force, causing serious

 9     injuries to peaceful protestors. See generally Compendium of Evidence (“Comp.”)

10     Vol. III Declarations.1 Moreover, the LAPD’s internal reports about the

11     Department’s response to the protests last spring reveal long-standing problems

12     with the LAPD on these issues. See, e.g., Comp. Vol. I, Ex. 1, An Independent

13     Examination of The Los Angeles Police Department 2020 Protest Response

14     (“Chaleff Report”) at 8, 51-53, 61-62, 68-70 and Request for Judicial Notice.

15           The LAPD responded to recent protests in Echo Park on March 25, 2021 with
16     brutality. They fired on non-violent protestors with 40 mm and 37 mm weapons at
17     extremely close range, and aimed at the upper bodies of their targets, where doing
18     so risks killing and permanently injuring them and is wholly unjustifiable. See, e.g.,
19     Vol. III, Kim Decl. (struck in rib cage) and Ex. 15; Vol. III, Monterrosa Decl. (press
20     person shot in abdomen) and Exs. 16, 17; Vol. III, Kanegawa Dec. (struck in upper
21     arm), Exs. 13,14; Vol. III, Barbadillo Dec., Exs. 8, 9 (video showing LAPD officers
22     aiming directly at protestors’ upper bodies, and firing less-lethal projectiles at close
23     range) (manually filed).
24
25
       1
26       Here and unless otherwise designated, citations to exhibits refer to those filed
       concurrently with this motion. Plaintiffs continue to rely on their prior submissions.
27     Where citations reference previously submitted declarations or other evidence, this
       is designated by a docket number.
28
                                                  1
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 13 of 33 Page ID #:681




 1           The use of force at Echo Park against persons engaged in First Amendment
 2     activity and posed no imminent, specific threat of violence was not an isolated
 3     incident For example, at the Breonna Taylor solidarity protest two weeks before
 4     the Echo Park events, the LAPD shot a member of the press in the back, striking him
 5     in the shoulder/neck area, as he walked on a sidewalk away from the skirmish line
 6     and filmed the scene. When shot, he was about 50-feet from the LAPD skirmish
 7     line and posed no threat to officers at all. The impact of the projectile knocked him
 8     to the ground, rendered him unconsciousness and caused a concussion. Vol. III,
 9     Baffa Decl. and Ex. 6 (video) and 7. Late last summer, the LAPD shot an anti-Trump
10     protestor at a demonstration in Tujunga when she started filming an officer strike a
11     nearby protestor with a baton. The LAPD officer shot her point blank in the chest
12     from a distance of approximately three feet, causing an injury requiring plastic
13     surgery to repair. Vol. III, Astorga Decl. and Ex. 4, 5 (manually filed video).
14           These abuses reflect a longstanding problem in LAPD culture and training
15     further documented by a recent report requested by the City Council on LAPD
16     conduct concerning the demonstrations that gave rise to this case. This report, the
17     Chaleff Report, indicated a significant lack of training for officers on deploying
18     these weapons – indeed, any for current officers over the last three years – which
19     has contributed to LAPD officers injuring peaceful protestors. See Comp. Vol. I, Ex.
20     1 at 8. 2 It is a certainty that such misconduct will continue unless this Court
21     intervenes.
22           Plaintiffs, who intend to continue protesting on these crucial public issues,
23     face a likelihood of being subjected to such violent actions again. In this motion
24
25
       2
26       Many of the same conclusions about deficiencies in the LAPD response to protests
       were also made by the report commissioned by the Los Angeles Police Commission.
27     See Vol. I, Ex. 2 (“A Crisis of Trust,” prepared for the Los Angeles Police
       Commission), and Request for Judicial Notice.
28
                                                2
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 14 of 33 Page ID #:682




 1     Plaintiffs request an injunction to protect them and the exercise of their first
 2     amendment rights to protest without risk of serious injury.
 3              This request is urgent. The trial of Derek Chauvin for the murder of George
 4     Floyd is currently underway and expected to reach a verdict before the end of the
 5     month. The judgment will likely be taken as one on longstanding claims of racism
 6     and police brutality in the country. Whether or not Mr. Chauvin is – and especially
 7     if he is – acquitted, convicted of a lesser charge, or there is a hung jury, Plaintiff
 8     BLM plans protests and demonstrations that will likely be widespread and
 9     substantial. Vol. III, Abdullah Decl. ¶¶ 2-3. They are fearful that large public
10     assemblies aimed at police misconduct will subject them to the same brutality and
11     indiscriminate force from the LAPD that similar protests concerning the same matter
12     did in May and June – consistent with Defendants’ recent responses to protestors.
13     Id. ¶ 4. These recent events and the LAPD’s internal reports demonstrate the
14     imminence of the threats Plaintiffs face.
15              Plaintiffs bring this application to enjoin the LAPD’s use of 40 mm and 37
16     mm weapons in public demonstrations. These weapons are target specific and likely
17     to produce serious injury when used at close range as a crowd control mechanism.
18     The 40 mm, in particular, is specifically intended to incapacitate an individual who
19     poses an imminent threat, not disperse a largely peaceful assembly. 3 As past use
20     demonstrates, the LAPD repeatedly deployed these weapons in a manner that caused
21     serious injuries. The LAPD continues to use these weapons improperly and
22     indiscriminately. For reasons addressed above and in greater detail below, Plaintiffs
23     are likely to prevail on the merits of their claims; absent injunctive relief, are likely
24     to suffer irreparable harm, and the balance of equities and interests also tip in their
25     favor.
26
       3
27      The After Action Report issued by the LAPD on April 9, 2021 recognized that
       most of the protestors were peaceful. See Vol. II, Ex. 3 at 5-56.
28
                                                   3
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 15 of 33 Page ID #:683




 1                                   NEW DEVELOPMENTS
 2
           I.      MARCH 2021 AND PRIOR PROTESTS.
 3
                On March 24 and 25, 2021, LAPD officers responded to persons gathered
 4
       near Echo Park to protest the City’s forced removal of unhoused persons from the
 5
       area. Officers fired on peaceful protestors with 40 mm and 37 mm weapons at
 6
       close range, aiming at the upper bodies of their targets, where doing so risks
 7
       permanently disabling them or even killing them. See Dkt. 15-1, Haar Decl. ¶¶ 9-
 8
       13 (describing significant injuries caused by kinetic impact projectiles); infra, pp.
 9
       11–15. 4
10
                For example, Christian Monterrosa, a journalist with LAPD media
11
       credentials, was shot at close range below his pectoral muscle less than four feet
12
       from the muzzle. Comp. Vol. III, Monterrosa Decl. ¶ 2. The LAPD shot Nara
13
       Kim with a “less lethal” in the left side of her abdomen from less than three feet
14
       away, Vol. III, Kim Decl. ¶ 2, and then shot her partner from about three feet away
15
       as he tried to move them away from the line of fire. Vol. III, Kanegawa Decl. ¶ 2.
16
       Some of the instances of LAPD targeting and firing on non-violent protestors was
17
       also captured on video. See Vol. III, Barbadillo Decl. ¶ 3 & Ex. 7.
18
                These recent events are not isolated. At the Breonna Taylor solidarity
19
       protest two weeks before the Echo Park events, the LAPD shot a member of the
20
       press in the back, inches from where his spine connects to his skull. Vol. III, Baffa
21
       Decl. When shot, he was about 50-feet from the LAPD skirmish line and posed
22
       no threat. Id. The impact rendered him unconscious and caused a concussion,
23
       bruises and swelling at the site the munition struck. Id. and Ex. 7.
24
25     4
         The uses of these weapons, including by the LAPD in the spring of 2020, and the
26     injuries they cause were also recently documented by Physicians for Human Rights
       in a recent report. See Physicians for Human Rights, Shot in the Head, Sept. 14,
27     2020, available at: https://phr.org/our-work/resources/shot-in-the-head/. Los
       Angeles was one of three cities discussed at length.
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 16 of 33 Page ID #:684




 1                 Last summer, the LAPD shot an anti-Trump protestor at a demonstration in
 2     Tujunga when she started filming an officer strike a nearby protestor with a baton.
 3     Vol. III, Astorga Decl. Just moments after she did so, an LAPD officer shot her
 4     point blank in the chest, from a distance of approximately three feet, causing an
 5     injury requiring plastic surgery to repair. Id. and Ex. 4, 5.
 6                 Additionally, on August 26, 2020, the LAPD blocked persons peacefully
 7     protesting the police shooting in Wisconsin of Jacob Blake seven times in the back,
 8     paralyzing him. The protestors were marching through the 3rd Street tunnel when
 9     they were kettled by the police, provided no opportunity to disperse, and fired upon
10     with large kinetic projectiles. See. Vol. III, Guerrero Decl. ¶¶ 3,4 and Ex. 10, 11,
11     12.
12                 As these events show, the LAPD’s use of projectiles in demonstrations, and
13     particularly 40 mm and 37 mm projectiles, poses an ongoing risk of serious injury
14     to protestors such as Plaintiffs.
15
             II.      THE CHALEFF REPORT.
16
                   On March 10, 2021, a report was released concerning the LAPD’s responses
17
       to the May 29 to June 2, 2020 protests, commissioned by the City and led by retired
18
       LAPD commander Gerald Chaleff and Assistant Chief Sandy Jo MacArthur. See
19
       Comp. Vol. I, Ex. 1. The report revealed serious longstanding problems in the
20
       LAPD, as relevant here, in the misuses, inadequate supervision and lack of training
21
       concerning 40 mm and 37 mm projectiles. As the Report underscored, these
22
       weapons are only to be used in circumstances where an individual is resisting arrest
23
       or presents an imminent threat to an officer, not to disperse peaceful protestors.5 Id.
24
       at 41. The Report also further documents how widespread the LAPD’s abuses and
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26     5
         Less lethal force is only permissible when there is reasonable belief that a suspect
27     is violently resisting arrest or presents an immediate threat of violence or physical
       harm. Ex. 1 at 41.
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                                                    5
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 17 of 33 Page ID #:685




 1     uses of the 40 mm and 37 mm projectiles have been; and, indeed, approximately
 2     10,000 rounds of 40 mm and 37 mm rounds were not returned to the LAPD’s armory
 3     following these protests. Id. at 43, 44.
 4           As the Report also demonstrates, there has been no training for officers on the
 5     40 mm, other than those going through basic training, since 2018. Id. at 45. Before
 6     2018, outside of the Metropolitan Division, the LAPD’s only training for the weapon
 7     – patrol training – consisted of a two-hour tutorial amounting to a demonstration of
 8     how the weapon is manipulated where an officer then fired at a stationary target. Id.
 9     at 8, 52. The previous training did not, when it did occur, even address using the 40
10     mm beyond this, or in crowd situations at all. Id. 6 Even the LAPD’s directive
11     authorizing the use of the 40 mm has no guidance for use in public order policing
12     situations. Id. at 45. Nor are officers adequately supervised. See, e.g., Id. at 61-62
13     (officers were “left to deploy less lethal tools, including the 40 mm, with no direction
14     or coordination.”)
15           There also appears to be no credible LAPD commitment to monitor the use of
16     these projectiles. The LAPD’s inability or refusal to account for approximately
17     10,000 rounds officers expended during the demonstrations in the spring of 2020 is
18     further evidence of indiscriminate use. The LAPD was asked for and refused to
19
       6
20        As the Chaleff Report shows, the LAPD appears to have a longstanding
       institutional resistance to securing the rights of protestors. The LAPD has been
21     repeatedly sued for violation of the rights of protestors. As a result of multiple
       settlements, LAPD was required to provide adequate training. It has ceased to,
22     which the Chaleff Report also criticized the LAPD for. Ex. 1at 11 (“The LAPD’s
       training in public order policing has declined in the past several years and was
23     identified as problem in 2007 after the MacArthur Park May Day demonstrations.
       As a result, the LAPD command staff were required to receive annual training on
24     public order policing. This training had not occurred for several years prior to 2020.
25     There had been minimal crowd control and mobile field force training in the past
       five years . . . . This lack of training caused problems in 2020. . . . The 2007
26     MacArthur Park lawsuits required every officer above the rank of sergeant to
       undergo training in crowd control and use of force policies at a minimum of every
27     two years, and command staff to be trained annually. It is recommended that this
       requirement be followed.”)
28
                                                  6
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 18 of 33 Page ID #:686




 1     provide investigators the number of less lethal munitions it used. Id. at 43 (“The
 2     Department was asked for but did not provide the number of less lethal munitions
 3     used between May 27 and June 7. . . . As of this writing, no accounting of less lethal
 4     munitions has been received.”). In the LAPD’s own recently issued After Action
 5     Report, there is not a single recognition or recommendation that addresses these well
 6     documented violations of department policy and misuse of these potentially lethal
 7     munitions against individuals who posed no imminent threat and were not resisting
 8     arrest. See generally Vol. II, Ex. 3.
 9           As the Chaleff Report emphasized, “[t]he use of the 40 mm weapon to fire at
10     individuals who are in a crowd situation requires well-trained, experienced, and
11     highly skilled individuals.” Vol. I, Ex. 1 at 8. The LAPD lacks that training, as the
12     report also concluded. Id. This causes injuries, sometimes significant, to non-violent
13     protestors, and did in the May and June protests. Id. (acknowledging significant
14     reports of injuries to protestors, including those not engaged in criminal behavior,
15     and that this was due to “a lack of adequate training on the 40 mm system.”).
16           The LAPD’s violent use of projectiles against peaceful protestors reflects
17     officers who behaved unreasonably and without proper training. Vol. III, Clark
18     Decl. ¶ 15. The Chaleff Report findings underscore Clark’s opinion that there is an
19     absence of any adequate or reasonably specific LAPD training concerning the 40
20     mm and 37 mm projectiles. Id. ¶ 21. Absent such trainings and adequate supervision,
21     LAPD officers confronted with similar protests are likely to misuse these weapons
22     and cause protestors serious injuries.
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 19 of 33 Page ID #:687




 1                                        ARGUMENT
 2
             I. PLAINTIFFS MEET ALL                    THE     REQUIREMENTS             FOR
 3              INJUNCTIVE RELIEF.
 4
                    A. Introduction.
 5           Injunctive relief is warranted and necessary to protect Plaintiffs and the
 6     classes they represent from being prevented from protesting, and from serious,
 7     potentially permanent or even lethal injuries just for exercising their First
 8     Amendment Rights. Plaintiffs meet all the requirements for injunctive relief because
 9     they are (1) likely to succeed on the merits, (2) are likely suffer irreparable harm in
10     the absence of preliminary relief, (3) the balance of equities tips in their favor, and
11     (4) an injunction is in the public interest. Shell Offshore, Inc. v. Greenpeace, Inc.,
12     709 F.3d 1281, 1289 (9th Cir. 2013). 7 The same factors apply to an application for
13     a temporary restraining order, but a court may grant a temporary restraining order
14     when irreparable injury may occur before the hearing for a preliminary injunction
15     can be held. Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839
16     n.7 (9th Cir. 2001) (explaining that the Ninth Circuit’s “analysis is substantially
17     identical for the injunction and the TRO”); see also FRCP 65(b) (allowing TRO to
18     be granted without notice). That is the case here because the Chauvin verdict may
19     come down at any time in the next 10 days.
20           Plaintiffs are likely to succeed on the merits of their claims regarding the
21
22     7
             The Ninth Circuit evaluates these factors on a “sliding scale” approach
23     meaning that a stronger showing in one area may offset a weaker showing in another.
       hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 992 (9th Cir. 2019). For example,
24
       even where there is not a likelihood of success on the merits, but only “serious
25     questions” going to them a preliminary injunction is appropriate, provided that the
       balance of hardships favors the plaintiff. Id.; All. for the Wild Rockies v. Cottrell,
26
       632 F.3d 1127, 1133 (9th Cir. 2011) (“[T]he more net harm an injunction can
27     prevent, the weaker the plaintiff's claim on the merits can be while still supporting
       some preliminary relief.”)
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                                                 8
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 20 of 33 Page ID #:688




 1     misuse of 40 mm and 37 mm projectiles. They are likely to suffer harm, and the
 2     balance is sharply in their favor based on the LAPD’s continued misuse of 40 mm
 3     and 37 mm munitions, as the LAPD did recently at Echo Park. Each of the recent
 4     investigative reports of the LAPD’s response to the Floyd protests last spring reveal
 5     the inadequacies of Defendants’ training, supervision, and policies concerning the
 6     use of these munitions. E.g. Vol. III, Clark Decl. ¶ 21; Vol. I, Ex. 1 at 8, 53; Vol. II,
 7     Ex. 3.
 8              Plaintiffs amply meet the requirements for a temporary order restraining the
 9     Defendants’ use of 40 mm and 37 mm projectiles. Plaintiffs show a strong likelihood
10     of success on the merits, and of severe threatened harm. Defendants have responded
11     to protests about police brutality by baselessly shooting peaceful protestors,
12     including point blank and/or in their heads, faces, and torsos where doing so inflicted
13     serious injury.     The LAPD continues to employ large munitions intended to
14     incapacitate the target, rather than disperse an unlawful assembly. Defendants
15     continue to fire on protestors this way, including as recently as three weeks ago at
16     Echo Park. While City officials just received reports of investigation into the
17     LAPD’s past actions, the police continue to employ 40 and 37 mm weapons at the
18     front line of their deployments against individuals who pose no imminent threat in
19     crowd control situations.
20              There are substantial grounds to find that the LAPD, if not restrained, will
21     continue to misuse these potent and dangerous weapons. The have continued to do
22     so. In fact, the two most recent uses of force occurred after issuance of the Chaleff
23     report, criticizing the LAPD for these uses of force. The LAPD appears undeterred
24     in their dangerous and unconstitutional use of these projectiles. Indeed, the Chaleff
25     report shows that the LAPD has a disturbing tendency to ignore past settlements
26     restraining similar protest-related misconduct. E.g. Vol. I, Ex. 1 at 11, 16-17, 52-53.
27     In the face of widespread protests expected with the impending Chauvin verdict,
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 21 of 33 Page ID #:689




 1     coupled with the LAPD’s failure to address the misuse of kinetic impact projectiles
 2     against individuals who posed no imminent threat, the need for immediate relief by
 3     the Court is strong.
 4           In light of the nature of the risk to Plaintiffs, the balance of interests also tips
 5     strongly in their favor in restraining the LAPD’s use of these projectiles.8 Without
 6     this Court’s intervention Plaintiffs and other protestors must risk serious injuries just
 7     to protest peacefully.
 8
           B. The LAPD Continues to Use Large 40 mm and 37 mm Kinetic Projectiles
 9            in Dangerous, Potentially Lethal Ways that Violate Its Own Policies and
10            the Fourth Amendment.
                 1. The Fourth Amendment Forbids Officers from Using Serious,
11
                    “Less-Lethal” Force Unreasonably Against Peaceful Protestors.
12
             The Fourth Amendment governs law enforcement’s use of force against
13
       protesters, even when the officers’ broader goal is to disperse a crowd. See, e.g.,
14
       Nelson v. City of Davis, 685 F.3d 867, 877-78 (9th Cir. 2012) (“Regardless of [the
15
       officers’] motives, their application of force was a knowing and willful act that
16
       terminated Nelson’s freedom of movement. It unquestionably constituted a seizure
17
       under the Fourth Amendment.”). The Fourth Amendment guarantees the right to be
18
       free from excessive force, which is determined under an objective reasonableness
19
       standard, in which the nature of the force is balanced against countervailing
20
       governmental interests. See Graham v. Connor, 490 U.S. 386, 395 (1989). Any
21
       government interest in using less lethal projectiles must be substantial. Nelson, 685
22
       F.3d at 879; see also Deorle v. Rutherford, 272 F.3d 1272, 1285 (9th Cir. 2001)
23
24     8
         The LAPD also used these projectiles to shoot indiscriminately in the general area
25     of individuals celebrating championships by the Los Angeles Lakers and the
       Dodgers. The Los Angeles Times reported on some injuries of those struck by “less-
26     lethal” projectiles at these two incidents, including a bystander who lost an eye. See
       Los Angeles Times, LAPD Projectiles Fired at Lakers Crowd Causes Severe Injuries
27     (Oct. 15, 2020), available at: https://www.latimes.com/california/story/2020-10-
       15/lapd-projectiles-gruesome-injuries-lakers-celebration.
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 22 of 33 Page ID #:690




 1     (“Less than deadly force that may lead to serious injury may be used only when a
 2     strong governmental interest warrants its use, and in such circumstances should be
 3     preceded by a warning, when feasible.”); id. at 1284 (so holding for a “cloth-cased
 4     shot, which is something akin to a rubber bullet.”).
 5           The reasonableness of an officer’s conduct must be assessed “from the
 6     perspective of a reasonable officer on the scene,” recognizing the fact that the officer
 7     may be “forced to make split-second judgments.” Id. at 396–97. The Graham
 8     standards consider the particular factual circumstance of each use of force. See id.
 9     at 396–97. The analysis considers whether it was reasonable to fire on a specific
10     person and a substantial government interest justified doing so, even when they were
11     in a crowd the government had a right to disperse. E.g. Nelson, 685 F.3d at 880-81.9
12           The most important factor in this analysis is whether the person shot posed a
13     threat to officers or others. Nelson, 685 F.3d at 880. Others include the severity of
14     the target’s crime, the suspect’s attempts to resist or evade arrest, and the availability
15     of less intrusive force. See id.; see also, e.g., Vos v. City of Newport Beach, 892 F.3d
16     1024, 1033–34 (9th Cir. 2018); Ninth Circuit Model Jury Instruction No. 9.25
17     (listing various factors including “the amount of time the officer had to determine
18     the type and amount of force that reasonably appeared necessary, and any changing
19     circumstances during that period; the type and amount of force used; and the
20     availability of alternative methods [to take the plaintiff into custody].”).
21           The LAPD has used 40 mm and 37 projectiles to cause serious and potentially
22     lethal injuries against peaceful protestors in the protests at issue in the complaint,
23     and in subsequent ones as recent as March 25, targeting or indiscriminately firing on
24     such protestors. This puts Plaintiffs at risk of significant injury or death and, as
25     addressed below, the force is excessive.
26     9
        As the LAPD’s own policies acknowledge, the use of force in crowd control must
27     be limited to that which is reasonable. See, e.g., Dkt. 15-1, Ex. 27, LAPD Directive
       No. 11 form June 2011, “Crowd Management, Intervention, and Control.”
28
                                                  11
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 23 of 33 Page ID #:691




 1              2. The LAPD Is Engaging in Widespread Use of “Less-Lethal” 40 mm
                   and 37 mm Projectiles in an Objectively Unreasonable Manner and
 2                 Putting Peaceful Protestors’ Safety and Lives at Risk.
 3           The LAPD uses “less lethal” projectiles to fire on peaceful protestors,
 4     including at point blank range, subjecting them to a risk of serious injuries and
 5     possibly even death. The LAPD has continued to do so, in protests following as
 6     recently as March 25, 2021. See supra, pp. 3-5.
 7           The use of 40 mm and 37 mm projectiles is part of LAPD’s arsenal of many
 8     weapons known as “less-lethals.” The projectiles seriously injure protestors, and
 9     have the capacity even to kill them. Recent studies show that of those injured by
10     kinetic projectiles, 70% of the 1,925 injured suffered severe injuries, 295 were
11     permanently disabled by the projectiles, and 53 were killed by them. Dkt. 15-1, Haar
12     Decl. ¶ 11; see also Physicians for Human Rights, Shot in the Head, supra note 4
13     (describing injuries from kinetic impact projectiles including from the LAPD during
14     the spring Floyd protests). These weapons can blind protestors; cause traumatic brain
15     injuries, cause injuries to the spinal cord; deflate and injure lungs, and many other
16     serious injuries. Dkt. 15-1, Haar Decl. ¶ 12. Severe injuries are more common when
17     fired at close range, though indiscriminate firing at longer distances still risks
18     striking protestors in vulnerable locations and cause such severe injuries. Id. ¶ 13;
19     see also, e.g., id. ¶ 12(A) (“Direct trauma to the eye from KIPs nearly always causes
20     . . . total blindness in that eye, due to ruptured globe (eyeball). KIPs have also
21     entered the brain through the eye socket and caused extensive and irreversible
22     damage.”).
23           If such weapons are to be used at all,10 they may only be used when subjected
24     to significant limitations and only then after the officers who use them have
25     necessary training and adequate supervision. As the Chaleff Report emphasized,
26     10
         There are significant doubts as to whether these large kinetic impact projectiles–
27     even used as directed, let alone as the LAPD has done here – can ever be used in a
       manner that is safe and effective. Dkt. 15-1, Haar Decl. ¶ 13.
28
                                                12
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 24 of 33 Page ID #:692




 1     “[t]he officer operating the 40mm must be very precise to strike the intended target
 2     and minimize the risk to potential bystanders.” Vol. I, Ex. 1 at 44. 40 mm rounds
 3     “cannot be used to disperse a crowd.” Id. at 42. The 40 mm should not, for example,
 4     be used to fire at the head, neck, face, eyes or spine, unless the intention is to kill the
 5     target. Id. at 41. They should also not be aimed at the chest. Comp. Vol. III, Clark
 6     Decl. ¶ 14. When aimed at the chest, impact projectiles bruise the lungs and heart,
 7     causing serious or even fatal injuries. Dkt. 15-1, Haar Decl. ¶ 12(D); Vol. III, Ex. 1
 8     at 94. The LAPD’s own regulations show that the 40 mm should not be used on a
 9     subject, even when otherwise targeted appropriately, unless the person is violently
10     resisting arrest or poses an immediate threat of violence or physical harm. Vol. III,
11     Ex. 1 at 94. The minimum safe range for firing the weapon is 5 feet. Id. Officers
12     deploying 37 mm foam baton rounds are limited to firing at the ground to absorb the
13     kinetic energy and skip toward persons, rather than ever directly at a person. Id. at
14     9, 94. The evidence before this Court demonstrates that the LAPD does not abide
15     by these restrictions.
16            The officers here engaged in widespread, indiscriminate and deliberate firing
17     on peaceful protestors. Even the City’s report acknowledged that officers were
18     quickly firing 40 mm rounds at distant targets and that LAPD officers fired
19     numerous less-lethal rounds during the protests, with approximately 10,000 such
20     rounds not returned to the armory or otherwise accounted for after the protests. Id.
21     at 43, 44.
22           The LAPD continues to indiscriminately fire on peaceful protestors and target
23     specific non-violent demonstrators, contrary to the Chaleff Report’s clear findings
24     on the matter, contrary to longstanding recommendations from the manufacturer,
25     and to even their own general guidelines. Vol. III, Clark Decl. ¶¶ 12-15, 18-20. In
26     August of last year for example, an LAPD officer aimed directly at and fired on
27     Christina Astorga’s chest from no more than three feet away, causing necrosis in her
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                                                   13
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 25 of 33 Page ID #:693




 1     breast, and requiring plastic surgery. Vol. III, Astorga Decl. ¶ 4, Ex. 4, 5. This is
 2     just one of many examples; however, the Astorga incident illustrates the serious
 3     injuries inflicted by the misuse of the 37mm less-lethal munitions, the weapon used
 4     to injure Astorga. According to an LAPD Directive noted in the Chaleff Report, the
 5     37 mm “foam baton round consists of five foam rubber projectiles that are
 6     discharged at once. . . . The LAPD only allows the foam baton rounds to be skip
 7     fired.” Vol. I, Ex. 1 at 42 & n. 21. As the video of Astorga being shot demonstrates,
 8     the officer’s weapon is pointed directly at her torso, not at the ground for a skip shot,
 9     significantly increasing the force at which the projectiles struck her chest. Moreover,
10     it is highly unlikely that the munitions could be skip-fired in such close proximity in
11     the manner intended by the manufacturer. Id.
12           In the recent March 25 protests in Echo Park, officers fired 40 mm and 37 mm
13     projectiles into the assembly, just a few feet from them. Protestors and members of
14     the press were struck in the upper body by these munitions shot at extremely close
15     range. Vol. III, Kim Decl. ¶ 2 and Ex.15; Vol. III, Kanegawa Decl. ¶ 2 and Ex. 13-
16     14; Vol. III, Monterossa Decl. ¶ 2 and Ex. 16 and 17. As the video taken by Diana
17     Barbadillo demonstrates, the LAPD officers in the front line were pointing weapons
18     directly at the assembled persons, in some instances with just inches between the
19     officers armed with these larger projectiles as the officers forced the group to move
20     backwards. Vol. III, Ex. 8 and 9 (manually filed). Just a few days earlier, at the
21     Breonna Taylor protest, another press person was shot in the back, inches to the side
22     of the base of where his skull and spine connect. Vol. III, Baffa Decl. ¶ 4-7 and Ex.
23     7.
24           Thus, it is highly likely that the LAPD will continue to use these munitions in
25     a highly dangerous and unconstitutional manner, causing the same injuries that
26     Plaintiffs and others sustained during the spring 2020 George Floyd Protests and in
27     more recent protests. See, e.g., Dkt. 15, Ex. 13, Rodas Decl. ¶¶ 3–6, 8–9 (peaceful
28
                                                  14
     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 26 of 33 Page ID #:694




 1     protestor was shot in the face with a rubber bullet as she attempted to return to her
 2     car, lost consciousness and fractured her mandible, requiring her jaw to be reinforced
 3     with a steel plate); Dkt. 15, Ex. 14, Črnko Decl. ¶¶ 2, 9–10 (peaceful protestor was,
 4     without warning, shot with rubber bullets on her arm, ribcage, and then, in the
 5     forehead causing temporary loss of hearing profuse bleeding, and permanent nerve
 6     damage); Dkt. 15, Ex. 17, Trotter Decl. ¶¶ 4–6, 9 (LAPD officer needlessly shot 51-
 7     year-old man in the chest and hand from only a few feet away, tearing off his skin);
 8     Dkt. 15, Ex. 14, Roe Decl. ¶ 4 (LAPD aimed at and shot a non-violent protestor in
 9     the stomach as he was backing away); Dkt. 15, Ex. 2, Aranovich Decl. ¶11 (peaceful
10     protestor shot with a rubber bullet from behind as she was trying to leave); Dkt. 15,
11     Ex. 16, Stamm Decl. ¶¶ 2, 5 (protestor witnessed officers firing on peaceful
12     protestors fired on with rubber bullets); Dkt. 15, Ex. 8, Lessac-Chenen Decl. ¶¶ 6, 8,
13     11–12, 14, 16 (officers fired projectiles into crowd, hitting some persons multiple
14     times and tearing skin, with an officer laughing as he shot at protestors and asking
15     “who else wants one?”); Dkt. 15, Ex. 11, Moore Decl. ¶¶4–6 (officer aimed directly
16     at plaintiff and shot her in the head with pellets); Dkt. 15, Ex. 20, Hinkston Decl. ¶¶
17     4–5 (plaintiff and bystander who was trying to escape in his wheelchair from police
18     firing on protestors was forcefully shot from behind in his shoulder blade); Dkt. 15-
19     1, Haar Decl. ¶¶ 8–13 (describing severe injuries such weapons cause).
20           There is no legitimate justification for the way the LAPD misuses these
21     munitions. Indeed, it was and continues to be contrary to well-accepted general
22     police practices and training, including the LAPD’s own purported policies. Vol.
23     III, Clark Decl. ¶¶ 12-15, 18-20; Ex. 1 at 41-45.
24        As the parties previously addressed and Defendants effectively conceded, firing
25     on non-violent protestors with targeted munitions that may seriously injure or kill
26     them is excessive force. See generally Dkt. 14 at 6 –11; Dkt. 24 at 10 (“[C]ertain
27     individual Plaintiffs may be entitled to damages [but] that doesn’t mean they would
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 27 of 33 Page ID #:695




 1     be entitled to any permanent equitable remedy . . . .”). In short, police use of
 2     projectiles that seriously injure peaceful protestors require a serious governmental
 3     interest before such force can be deployed, and there is no such interest in firing
 4     indiscriminately on or targeting non-violent protestors. 11 Dkt. 14 at 9-11 & n.5, see
 5     also, e.g., Nelson v. City of Davis, 685 F.3d 867, 877-78 (9th Cir. 2012) (the firing
 6     of even a pepperball, significantly less dangerous than the munitions here, on
 7     protestors who do not pose a threat is unconstitutional, and indeed, this is clearly
 8     established). The shootings at issue here are patently unconstitutional.
 9
10          C. A TEMPORARY RESTRAINING ORDER AND PRELIMINARY
               INJUNCTIVE RELIEF ARE URGENTLY NEEDED AND WELL
11             JUSTIFIED TO PREVENT THESE UNCONSTITUTIONAL AND
12             LIFE-THREATENING PRACTICES.

13               1. Plaintiffs Will Likely Suffer Irreparable Harm if the Injunction is
14                  not Granted.
             The second requirement for a temporary restraining order is a likelihood of
15
       irreparable harm. Shell Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1289 (9th
16
       Cir. 2013). Plaintiffs amply meet this here.
17
             As demonstrated above, Plaintiffs are highly likely to succeed on the merits
18
       of their claims. The LAPD’s use of 40 mm and 37 mm projectiles on non-violent
19
       protesters violates their constitutional rights. Throughout the country courts have
20
       ordered such relief to protect the constitutional rights and lives of citizens. See, e.g.,
21
       Abay v. City of Denver, 445 F. Supp. 3d 1286, 1294 (D. Colo. 2020) (granting
22
       preliminary injunction enjoining Denver police from using “less-lethal” projectiles
23
       to target the head, back or pelvis area and ordering that “non-lethal or less-lethal
24
25
       11
26       Indeed, as the LAPD’s own policies confirm, there is no justification in firing on
       even violent protestors in the areas the LAPD has targeted them, including their
27     face and backs, unless the LAPD has been intending to kill these protestors with
       these “less lethals.” Ex. 1 at 41.
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 28 of 33 Page ID #:696




 1     projectiles shall not be shot indiscriminately into a crowd.”); Black Lives Matter
 2     Seattle-King Cty. v. City of Seattle, Seattle Police Dep’t, No. 2:20-CV-00887-RAJ,
 3     2020 U.S. Dist. LEXIS 135583, 2020 WL 3128299, at *5 (W.D. Wash. June 12,
 4     2020) (granting TRO to enjoin Seattle police from employing “projectiles of any
 5     kind [including h-bang grenades, “pepper balls,” “blast balls,” rubber bullets, and
 6     foam-tip projectiles] against persons peacefully engaging in protests or
 7     demonstrations.”); Anti Police-Terror Project, et al. v. City of Oakland, et al., 2020
 8     U.S. Dist. LEXIS 135607, 2020 WL 4346828, No. 3:20-cv-03866-JCS (N.D. Cal.
 9     June 18, 2020) (enjoining, inter alia, firing rubber bullets or similar projectiles at
10     protestors); Don't Shoot Portland v. City of Portland, 465 F. Supp. 3d 1150, 1157
11     (D. Or. 2020) (enjoining police from using tear gas unless in accordance with police
12     practices and limiting the use of tear gas to situations where lives or safety were at
13     risk); Breathe v. City of Detroit, 484 F. Supp. 3d 511, 520 (E.D. Mich. 2020), order
14     clarified, No. 20-12363, 2020 U.S. Dist. LEXIS 250308, 2020 WL 8575150 (E.D.
15     Mich. Sept. 16, 2020).
16           An injunction is particularly warranted here, in light of the potential for
17     serious injuries the LAPD continues to cause, and the unnecessary and potentially
18     lethal injuries they are likely to continue to cause. Such harm is clearly irreparable.
19     Cf., e.g., Black Lives Matter Seattle-King Cty, 2020 U.S. Dist. LEXIS 135583, 2020
20     WL 3128299, at *4 (“Plaintiffs have established a threat of immediate, irreparable
21     harm in the absence of a TRO. They have shown a likelihood of success on their
22     First and Fourth Amendment claims, demonstrating that irreparable injury has
23     already occurred.”); Abay, 445 F. Supp. 3d at 1293 (“Indeed, irreparable harm has
24     already occurred in the form of physical injury and the suppression of speech.”);
25     Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (“[T]he deprivation of
26     constitutional rights ‘unquestionably constitutes irreparable injury.”).
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 29 of 33 Page ID #:697




 1           The Chaleff Report acknowledges these problems and puts them in the larger
 2     context of all the LAPD’s deficiencies in responding to the spring 2020 protests.
 3     See, e.g., Vol. I, Ex. 1 at 44 (noting the majority of reported injuries at the protests,
 4     including as to peaceful protestors, were the result of these munitions); id. at 8, 42,
 5     55 (noting the lack of adequate and relevant training on the use of 40 mm and 37
 6     mm projectiles, and any at all over the last three years, and that it has contributed to
 7     injuring protestors); see also, e.g., id at 58 (describing deficiencies in planning,
 8     including failing to follow basic principles of the incident command system); id. at
 9     58-60 (describing deficiencies in command and control, including a lack of a known
10     or clear chain of command or training concerning command); id. at 60-61
11     (describing lack of training for commanding officers concerning managing large
12     crowds); id. at 62-63 (describing the LAPD’s errors in detaining people for excessive
13     amounts of time, without being provided access to restrooms, water, or masks, and
14     that the LAPD has not corrected the issues related to the Occupy LA or the Ferguson
15     cases).
16           As the Chaleff Report acknowledged, the majority of reported injuries
17     protesters, including non-violent ones, were the result of projectile munitions, Ex. 1
18     at 44, and the LAPD’s absence of training on the weapons contributed to this. Id. at
19     8, 42, 5. The Report also itself emphasized that if LAPD officers were to use 40 mm
20     and 37 mm weapons they would be limited to using them in the manners discussed
21     above, including not using 40 mm to disperse crowds, not using them at short range,
22     hitting protestors in potentially dangerous areas, or ever, unless they were an
23     immediate threat of violence or physical harm. See § B(2), supra. There is no basis
24     to believe that the LAPD will implement these limitations in any upcoming
25     demonstrations.
26           The declarations, photos and videos show that LAPD officers have and
27     continue to target and indiscriminately fire on non-violent protestors with these
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 30 of 33 Page ID #:698




 1     potentially lethal weapons. See supra, pp. 3–5, 14–15. Moreover as the Chaleff
 2     Report and Plaintiffs’ declarations demonstrate the LAPD simply does not have the
 3     necessary training or supervision to use these weapons. E.g. Comp. Vol. I, Ex. 1 at
 4     8.
 5           There has been no training for officers on the 40 mm, other than those going
 6     through basic training, since 2018. Id. at 45. Before 2018, the LAPD’s training for
 7     the weapon, for a patrol context, consisted of a two-hour tutorial which amounted to
 8     a demonstration of how the weapon is manipulated, with an officer permitted to fire
 9     it a few times at a stationary target. Id. at 52, 8. The previous training did not, when
10     it occurred, even address using the 40 mm beyond this or in crowd situations at all.
11     Id.
12           The LAPD’s directive authorizing the use of the 50 mm also has no detailed
13     guidance for use in public order policing situations. Vol. I, Ex. 1 at 45. As the
14     Chaleff Report found, “[t]he use of the 40 mm weapon to fire at individuals who are
15     in a crowd situation requires well-trained, experienced, and highly skilled
16     individuals.” Id. at 8. The LAPD lacks such training – indeed any, currently – and
17     this caused injuries to protestors, including non-violent ones, as even the Chaleff
18     Report found. Id. at 8 (acknowledging significant reports of injuries to protestors,
19     including those not engaged in criminal behavior, and that this was due to “a lack of
20     adequate training on the 40 mm system.”). The LAPD simply lacks the specific (or,
21     really, any) training to otherwise properly wield these weapons in the context of
22     demonstrations or crowd control. The Chaleff Report and the new evidence before
23     the Court demonstrate the essential need for such training and the need for
24     experienced and informed supervision over the use of these potentially lethal
25     weapons. Until that exists this Court should enjoin the LAPD’s use of the weapons
26     for crowd control purposes.
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 31 of 33 Page ID #:699




 1           Since this action was started in June 2020, the LAPD has used 40 mm and 37
 2     mm projectiles multiple times to directly fire on peaceful protestors, including
 3     intentionally at close range, or indiscriminately into crowds. See supra, pp. 3–5.
 4     Without the Court’s intervention, future protesters exercising their First Amendment
 5     rights will only do so if they are willing to risk serious injury or even death.
 6           In response to Plaintiffs’ initial request for injunctive relief, Defendants
 7     assured that they were not authorizing kinetic projectiles following June 3, 2020,
 8     and Plaintiffs’ concerns were unfounded. E.g Dkt. 24-3, Rimkunas Decl. ¶ 34. In
 9     fact, just days later, this was proven false. These assurances cannot be accepted any
10     longer in light of subsequent and repeated events, with two incidents at protests in
11     the last four weeks, and the Chaleff report.
12                2. Plaintiffs’ Interests Weigh Heavily in Favor of Enjoining
                     Defendants’ Use of 40 mm and 37 mm Weapons.
13
             The last necessary factors for a temporary restraining order and preliminary
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       injunction are that the balance of equities tips in favor of an injunction, and an
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       injunction is in the public interest. Shell Offshore, Inc., 709 F.3d at 1289.
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       Notably, “[w]hen the government is a party, these last two factors merge.” Drakes
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       Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v.
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       Holder, 556 U.S. 418, 435 (2009)). Moreover, “‘it is always in the public interest
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       to prevent the violation of a party’s constitutional rights.’” Melendres v. Arpaio,
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       695 F.3d 990, 1002 (9th Cir. 2012) (quoting Sammartano v. First Judicial District
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       Court, 303 F.3d 959 (9th Cir. 2002)); see also Abay, 445 F. Supp. 3d at 1293
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       (“Here, it is clearly in the public interest to protect plaintiffs’ right to demonstrate,
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       the media’s ability to document that demonstration, and third parties’ ability to
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       render aid to demonstrators without threat of excessive force by police.”).
25
             To the extent Defendants claim the use of 40 mm and 37 mm projectiles is
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       and has been necessary for self-defense, and this is purportedly why they need to
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       deploy such weapons against protestors, this is refuted by the facts. Defendants have
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 32 of 33 Page ID #:700




 1     not used these projectiles as a tool for self-defense purposes. Defendants instead
 2     fired on non-violent and distant protestors, as the videos and declarations show. The
 3     use of these munitions in the way the LAPD has used them is unconstitutional, and
 4     not justified by any legitimate state interest.
 5           Temporarily enjoining the use of the 40 and 37 mm weapons – which the
 6     LAPD’s own commissioned report indicates officers are not reliably trained to
 7     accurately or appropriately use anyway – in this way is appropriate, as it has been in
 8     the numerous other cities where such weapons have been enjoined the waeapons
 9     more broadly or limited them for nearly a year. The LAPD also has numerous other
10     and adequate options for crowd control if the requested order is issued. See, e.g.,
11     Vol. III, Clark Decl. ¶ 22; Abay, 445 F. Supp. at 1293 (assertion of officer safety “is
12     a hypothetical harm, especially given the fact that officers have access to many other
13     types of non-lethal weapons that they use on a daily basis, including tazers. The
14     unlikelihood of such harm to officers is outweighed by the very real harm that has
15     already been caused to plaintiffs.”).
16           Moreover, the aggressive and improper use at issue here, established by the
17     videos and declarations, particularly when employed by unskilled and untrained
18     officers, risks escalating situations, rather than controlling them.   Vol. III, Clark
19     Decl. ¶ 20.
20                                    REQUESTED RELIEF
21           Plaintiffs seek the proposed order submitted herewith, which would prohibit
22     the LAPD from firing 40mm and 37 mm projectiles, only, for the purposes of
23     crowd control.
24                                        CONCLUSION
25           The abuse of these munitions in the Spring of 2020 was not an aberration. The
26     Chaleff Report establishes a deep, longstanding problem in LAPD culture and
27     actions in response to demonstrations. The March 2021 events in Echo Park reveal
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     Case 2:20-cv-05027-CBM-AS Document 53 Filed 04/13/21 Page 33 of 33 Page ID #:701




 1     what would happen if protest over a Chauvin verdict occur. This Court should grant
 2     this request for a temporary restraining order, and grant a preliminary injunction
 3     prohibiting the use of these dangerous munitions in public demonstrations.
 4                                           Respectfully submitted,
 5
 6     DATED: April 13, 2021
                                             By:    /s/ Paul Hoffman
 7                                                  Paul Hoffman
 8                                                  John Washington
                                                    Carol Sobel
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10                                                  Attorneys for Plaintiffs.

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